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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. CR13-123-RSL

10          v.                                           ORDER DENYING MOTION TO
                                                         RECONSIDER DETENTION
11 SON PHAM,                                             ORDER

12                                Defendant.

13          Defendant moves the Court to reconsider its detention order on the grounds the Court

14 “overlooked and/or misapprehended matters,” and there are “new facts for the court to consider.”

15 Dkt. 43. The Court may “reopen” or reconsider a detention order if there is new information that

16 was not known to the movant at the time of the detention hearing that has a material bearing on

17 the issue of flight risk and danger to the community. See 18 U.S.C. § 3142(f)(2)(B).

18          Defendant contends the following new information compels release: (1) he has a record

19 of making court appearances and complying with conditions of release set by the King County

20 Superior Court; (2) the government has not filed additional criminal charges since the detention

21 hearing; (3) the counterfeit money found at defendant’s home was “novelty money” used for

22 religious practices; (4) the discrepencies in defendant’s income are based on the fact he and Ms.

23 Dao are not married; and (5) co-defendant Lim was released.


     ORDER DENYING MOTION TO RECONSIDER
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 1          This is not new information. At the time of the detention hearing, defendant obviously

 2 knew about how he performed while charges were pending in King County Superior Court, that

 3 the “novelty money” was for religious purposes, and his financial arrangements with Ms. Dao.

 4 He thus had no excuse for failing to present this information at the detention hearing. Moreover,

 5 his motion for reconsideration highlights the discrepencies regarding his income. At the hearing,

 6 the defense position was defendant did not know what his income was. This is inconsistent with

 7 the attachments defendant submitted with his motion for reconsideration which contain copies of

 8 checks Ms. Dao issued to defendant as payment for his work at her salon. Given these

 9 paychecks, defendant should have been able to clearly state his income at the detention hearing

10 but did not.

11          The declaration Ms. Dao submitted in support of reconsideration is also problematic.

12 The declaration does not contain information that Ms. Dao was unaware of at the time of the

13 detention hearing and is also inconsistent with her statements to the Court at the hearing. At the

14 hearing, Ms. Dao claimed to be defendant’s wife and was unable to explain her financial

15 situation or defendant’s financial situation. Now she claims she is not married to the defendant,

16 has a loose meretricious relationship with him, and that their finances are completely separate.

17 Also, at the hearing Ms. Dao made no mention about the counterfeit money found at defendant’s

18 home. Now she claims it was “novelty money” used for religious purposes.

19          Defendant raises other arguments none of which are persuasive. That the government has

20 not charged defendant with additional crimes is not, alone, grounds for reconsideration—in fact

21 it does not appear to be factor to consider. See 18 U.S.C. § 3142(g). Likewise, the Court’s

22 release of a co-defendant is not grounds for reconsideration or for release. Id.

23          In sum, defendant has failed to present new information that was not known to him at the


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 1 time of the detention hearing that has a material bearing on the issue of flight risk and danger to

 2 the community, there are no grounds to reopen the detention hearing. Accordingly, the Court

 3 DENIES defendant’s motion for reconsideration (Dkt. 43) of the Court’s order detention order.

 4          The Clerk is directed to provide a copy of this Order to the parties, and the Honorable

 5 Robert S. Lasnik.

 6          DATED this 30th day of April, 2013.

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                                                          BRIAN A. TSUCHIDA
 9                                                        United States Magistrate Judge

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     ORDER DENYING MOTION TO RECONSIDER
     DETENTION ORDER - 3
